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     7
     8                           UNITED STATES DISTRICT COURT
     9                          CENTRAL DISTRICT OF CALIFORNIA
    10 CONSUMERDIRECT, INC., a Nevada Case No. 8:21-cv-01968 (JVS) (ADSx)
       corporation,                            Honorable James V. Selna
    11                                         Courtroom 10C
                     Plaintiff,
    12                                         CONSUMERDIRECT’S
               vs                              OPPOSITION TO ARRAY US, INC.’S
    13                                         MOTION FOR PARTIAL
       PENTIUS, LLC, a Delaware limited        RECONSIDERATION OF ORDER
    14 liability company; ARRAY US, INC., a REGARDING MOTION TO STRIKE
       Delaware corporation; SYSTEM            AND MOTIONS FOR SUMMARY
    15 ADMIN, LLC, a Florida limited liability JUDGMENT (DKT NO. 311)
       company; CTH SKIN CORP., a
    16 Delaware corporation; PENTOPS, LLC,
       a Delaware limited liability company;
    17 DAILY STOCKS, INC., a Delaware          Date: September 18, 2023
       corporation; NECTRIS, LLC, a Utah       Time: 11:00 a.m.
    18 limited liability company; CLARITY      Dept.: 10C
       PROGRESSION, LLC, a Florida limited
    19 liability company; and DOES 1 through Complaint Filed: December 1, 2021
       10, inclusive,                          Trial Date: October 3, 2023
    20
       Defendants.
    21 ARRAY US, INC., a Delaware
       corporation,
    22
                     Counterclaimant,
    23
               vs
    24
       CONSUMERDIRECT, INC., a Nevada
    25 corporation, and DOES 1 through 10,
       inclusive,
    26
       Counter-Defendants.
    27 / / /
    28
                                                          Case No. 8:21-cv-01968 (JVS) (ADSx)
         2530/102119-0036
                                                              OPPOSITION TO MOTION FOR
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     1                          MEMORANDUM OF POINTS AND AUTHORITIES
     2 I.          INTRODUCTION
     3             ConsumerDirect, Inc. (“ConsumerDirect”) hereby opposes Array US Inc.’s
     4 (“Array”) Motion for Partial Reconsideration of the Order Regarding Motion to Strike
     5 and Motions for Summary Judgment (Dkt No. 311, the “MSJ Order”). For reasons
     6 stated below, there are no grounds to reverse the Court’s Order and the Motion should
     7 be denied.
     8             Array argues that the Court should reconsider its ruling denying summary
     9 judgment on ConsumerDirect’s claim for interference with the IdentityClub contract
    10 because Ixchel Pharma, LLC v. Biogen, Inc., 9 Cal. 5th 1130 (2020) holds that
    11 interference with an at-will contract requires a showing of independent wrongfulness.
    12 The Court already considered and rejected this very argument in the MSJ Order:
    13 “Contrary to Array’s argument, ConsumerDirect need not prove the existence of an
    14 independently wrongful act for its interference-with-contract claim to survive. See
    15 Ixchel Pharma, 9 Cal. 5th 1130 at 1141 (‘It is generally not necessary that the
    16 defendant’s conduct be wrongful apart from the interference with the contract
    17 itself.’).” (Dkt No. 311, p. 24.)
    18             Array does not even attempt to demonstrate any new evidence or change in the
    19 law justifying reconsideration of the MSJ Order. See School Dist. No. 1J, Multnomah
    20 County v. ACandS, Inc., 5 F. 3d 1255, 1263 (9th Cir. 1993) (reconsideration is only
    21 proper if the court “(1) is presented with newly discovered evidence, (2) committed
    22 clear error or the initial decision was manifestly unjust, or (3) if there is an intervening
    23 change in controlling law”). Nor was the ruling clearly erroneous for reasons stated
    24 herein. Thus, there are no grounds to reconsider the MSJ Order.
    25             Even if the Court entertains the Motion despite having no grounds to do so,
    26 Array is wrong on the merits because the IdentityClub contract is not an “at-will
    27 contract” since it specifies an exclusive term of three years (that automatically renews
    28 for additional one year periods). (Dkt No. 242, Coulter Decl., Ex. 1, Sec. 2.) Ixchel
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     1 Pharma confirms that such contracts with a definite term are not “at-will contracts:”
     2 “interference with other legally binding contracts, such as contracts of a definite term,
     3 is tortious ‘because the exchange of promises resulting in such a formally cemented
     4 economic relationship is deemed worthy of protection from interference by a stranger
     5 to the agreement.’ . . . But at-will contracts do not involve the same ‘cemented
     6 economic relationship[s]’ as contracts of a definite term.” Ixchel Pharma, supra, at
     7 1145 (emphasis added).
     8             Even if the IdentityClub contract is somehow deemed an “at-will contract,”
     9 independent wrongfulness is not required where the interference caused some
    10 disruption or breach of the contract other than termination of the contract. Karma
    11 Automotive LLC v. Lordstown Motors Corp., 2022 WL 17886045, * 14 (C.D. Cal.
    12 Nov. 18, 2022); SSI Inc. v. Ferry, 2021 WL 9315372 (C.D. Cal. July 28, 2012). Here,
    13 ConsumerDirect does not contend that the IdentityClub contract was disrupted or
    14 breached because IdentityClub terminated the contract as a result of Array’s
    15 interference; rather, ConsumerDirect contends that IdentityClub sent website lead
    16 traffic away from ConsumerDirect’s platform to Array’s platform, in violation of the
    17 provision requiring IdentityClub to “maintain appropriate and reasonable marketing
    18 sites and other lead generation campaigns to produce consumer leads in high volume.”
    19 (Dkt No. 242, Coulter Decl., Ex. 1, Sec. 3.2.2.) Therefore, independent wrongfulness
    20 is not required for this separate reason.
    21             For the foregoing reasons, and as further explained below, there are no grounds
    22 for reconsideration and the Motion should be denied. If the Court is at all inclined to
    23 reconsider the MSJ Order, then the Court should decide this Motion concurrently with
    24 ConsumerDirect’s Motion for Reconsideration of other portions of the MSJ Order,
    25 which is set to be heard on September 25, 2023 and requests, among other things, that
    26 the Court reconsider whether there are triable issues as to Defendants’ independently
    27 wrongful conduct.
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     1 II.         THERE IS NO NEWLY DISCOVERED EVIDENCE OR CHANGE IN
     2             THE LAW JUSTIFYING RECONSIDERATION
     3             Granting reconsideration is an “extraordinary remedy, to be used sparingly in
     4 the interests of finality and conservation of judicial resources.” Carroll v. Nakatani
     5 (9th Cir. 2003) 342 F. 3d 934, 945 (internal quotes omitted). Reconsideration is
     6 only warranted if “the district court (1) is presented with newly discovered evidence,
     7 (2) committed clear error or the initial decision was manifestly unjust, or (3) if there
     8 is an intervening change in controlling law.” School Dist. No. 1J, Multnomah
     9 County v. ACandS, Inc., 5 F. 3d 1255, 1263 (9th Cir. 1993). Arguments or evidence
    10 that were or could have been presented earlier are improper bases for a motion for
    11 reconsideration. Backlund v. Barnhart, 778 F.2d 1386, 1388 (9th Cir. 1985).
    12             Here, the Court already considered and rejected Array’s argument based on
    13 Ixchel Pharma in the MSJ Order: “Contrary to Array’s argument, ConsumerDirect
    14 need not prove the existence of an independently wrongful act for its interference-
    15 with-contract claim to survive. See Ixchel Pharma, 9 Cal. 5th 1130 at 1141 (‘It is
    16 generally not necessary that the defendant’s conduct be wrongful apart from the
    17 interference with the contract itself.’).” (Dkt No. 311, p. 24.) Array does not
    18 present any newly discovered evidence or a change in the law that would justify
    19 reconsideration of the MSJ Order. Nor is the MSJ Order clearly erroneous or
    20 manifestly unjust for reasons stated below. Therefore, the Motion should be denied
    21 as there are no legitimate grounds for reconsideration.
    22 III.        IXCHEL       PHARMA         IS    INAPPLICABLE            BECAUSE            THE
    23             IDENTITYCLUB CONTRACT IS NOT AN AT-WILL CONTRACT
    24             Array’s entire Motion is based on the argument that Ixchel Pharma holds that
    25 “to state a claim for interference with an at-will contract by a third party, the plaintiff
    26 must allege that the defendant engaged in an independently wrongful act.” (Dkt No.
    27 324, p. 3, citing Ixchel Pharma, supra, at 1148.) However, the IdentityClub contract
    28 at issue is not an “at-will contract” to which this holding would apply. Therefore, the
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     1 Court was correct in its ruling that ConsumerDirect does not need to prove
     2 independently wrongful conduct as part of its interference with contract claim.
     3             The IdentityClub contract provides that it “shall continue for an exclusive
     4 period of three (3) years” and “shall automatically renew for subsequent twelve (12)
     5 calendar month terms unless cancelled by either party as provided for in this
     6 Agreement.” (Dkt No. 242, Coulter Decl., Ex. 1, Sec. 2.) ConsumerDirect contends
     7 that Array interfered with the contract during the initial three-year exclusive term.
     8 Ixchel Pharma makes clear that contracts of a definite term are not “at-will contracts:”
     9 “interference with other legally binding contracts, such as contracts of a definite term,
    10 is tortious ‘because the exchange of promises resulting in such a formally cemented
    11 economic relationship is deemed worthy of protection from interference by a stranger
    12 to the agreement.’ . . . But at-will contracts do not involve the same ‘cemented
    13 economic relationship[s]’ as contracts of a definite term.” Ixchel Pharma, supra, at
    14 1145 (emphasis added). Notably, none of the contracts at issue in Ixchel Pharma or
    15 any of the other cases cited by Array on page 3 of the Motion had any specified term.1
    16             As Ixchel Pharma recognized, the concept of requiring an independently
    17 wrongful act for interference with an “at-will contract” was previously confined to
    18 the employment context. For context, Labor Code section 2922 provides: “An
    19 employment, having no specified term, may be terminated at the will of either party
    20 on notice to the other. Employment for a specified term means an employment for a
    21 period greater than one month.” (Emphasis added.) Here, the contractual
    22 relationship between ConsumerDirect and Identity has an express specified term of
    23 at least three years, meaning it is not, by definition, an “at-will contract.”
    24             As for Array’s argument that the IdentityClub contract provides for certain
    25
         1
    26        NuLife Ventures, Inc. v. Avacen, Inc., Case No. 20-cv-2019-BAS-KSC,
       2020 WL 7318122, at *13 (N.D. Cal. Dec. 11, 2020) cited by Array concerned two
    27 contracts, a Reseller Agreement with a specified term and an IBP Agreement that was
       at-will. Id. at *1-2. The court held that independently wrongful conduct was required
    28 for the claim for interference with the IBP Agreement (not the Reseller Agreement),
       since the IBP Agreement had no term and was at-will. Id. at *13.
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     1 circumstances upon which the parties can terminate, i.e., upon 180 days’ notice
     2 without cause or upon 15 days’ notice with cause, those termination provisions do
     3 not make the contract “at-will.” (See Dkt No. 242, Coulter Decl., Ex. 1, Sec. 8.1 &
     4 8.2.) “An at-will [contract] may be ended by either party ‘at any time without cause’
     5 for any or no reason, and subject to no procedure except the statutory requirement
     6 of notice.” Guz v. Bechtel Nat. Inc., 24 Cal.4th 317, 335 (2000) (emphasis
     7 added). Put otherwise, the termination provisions requiring 180 days’ notice or
     8 “good cause” in the IdentityClub contract are a “contractual departure from at-will
     9 status” that renders the contract no longer “at-will.” Id. at 336; see also Singh v.
    10 Southland Stone, U.S.A., Inc., 186 Cal. App. 4th 338 (2010) (“If the parties agree
    11 that the employment is for a specified term or can be terminated only for good cause,
    12 however, the employment is not at will and the agreed condition must be satisfied
    13 before the termination of employment.”), CRST Van Expedited, Inc. v. Werner
    14 Enterprises, Inc., 479 F.3d 1099 (9th Cir. 2007) (holding that a contract was not “at-
    15 will” where it provided for a term of one year and specific conditions when the
    16 contract could be terminated within that year), Guz v. Bechtel Nat'l Inc., 24 Cal.4th
    17 317, 336 (2000) (holding that a contract was not “at-will” where the parties
    18 contracted for “any contrary understanding” that depart from an at-will relationship).
    19             Therefore, the IdentityClub contract is not an “at-will contract,” meaning that
    20 Ixchel Pharma’s holding does not apply. The Court’s ruling that ConsumerDirect
    21 does not need to prove independent wrongful acts in support of its claim for
    22 interference with this contract is correct and should not be reconsidered.
    23 IV.         IXCHEL PHARMA DOES NOT APPLY WHEN THE CONTRACT WAS
    24             DISRUPTED BY AN ACT OTHER THAN TERMINATION
    25             Even if the IdentityClub contract is somehow deemed an “at-will contract,”
    26 independent wrongfulness is not required where the interference caused some
    27 disruption or breach of the contract other than termination of the contract. This
    28 Court, in Karma Automotive LLC v. Lordstown Motors Corp., 2022 WL 17886045,
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     1 * 14 (C.D. Cal. Nov. 18, 2022), held that independent wrongfulness was not
     2 required for an interference with contract claim where the plaintiff alleged acts other
     3 than inducement to leave the contractual relationship. See also SSI Inc. v. Ferry,
     4 2021 WL 9315372 (C.D. Cal. July 28, 2012) (finding that independent wrongfulness
     5 was not required where the interference with contract claim was not predicated upon
     6 the termination of the relationship but instead on the contractual obligations
     7 breached during the relationship).
     8             Here, ConsumerDirect does not contend that the IdentityClub contract was
     9 disrupted or breached because IdentityClub terminated the contract as a result of
    10 Array’s interference; rather, ConsumerDirect contends that IdentityClub sent
    11 website lead traffic away from ConsumerDirect’s platform to Array’s platform, in
    12 violation of the provision requiring IdentityClub to “maintain appropriate and
    13 reasonable marketing sites and other lead generation campaigns to produce
    14 consumer leads in high volume.” (See Dkt No. 242, Coulter Decl., Ex. 1,
    15 Sec. 3.2.2.) Therefore, independent wrongfulness is not required for this separate
    16 reason.
    17 V.          CONCLUSION
    18             For the foregoing reasons, Array’s Motion for Reconsideration should be
    19 denied.
    20
    21 Dated: August 27, 2023                             RUTAN & TUCKER, LLP
    22
                                                 By:      /s/ Proud Usahacharoenporn
    23                                                     Proud Usahacharoenporn
                                                           Attorneys    for   Plaintiff/Counter-
    24                                                     Defendant      CONSUMERDIRECT,
                                                           INC.
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     1                             CERTIFICATE OF COMPLIANCE
     2             The undersigned, counsel of record for ConsumerDirect, Inc., certifies that
     3 this brief contains 1,877 words, which complies with the word limit of L.R. 11-6.1.
     4
         Dated: August 27, 2023                             RUTAN & TUCKER, LLP
     5
     6
                                                   By:      /s/ Proud Usahacharoenporn
     7
                                                             Proud Usahacharoenporn
     8                                                       Attorneys for Plaintiff/Counter-
     9                                                       Defendant CONSUMERDIRECT,
                                                             INC.
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